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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ08-505
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     MICHAEL W. ROOT,                                  )
10                                                     )
                              Defendants.              )
11                                                     )

12   Offense charged:

13         Bank Robbery

14    Date of Detention Hearing: November 6, 2008.

15         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

16    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17    that no condition or combination of conditions which the defendant can meet will reasonably

18    assure the appearance of the defendant as required and the safety of any other person and the

19    community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21         (1)     Defendant did not present any information about his background, ties to the area,

22    health or employment history. He has a criminal history going back to 1993.

23         (2)     Defendant through his counsel stipulated to detention.


     DETENTION ORDER -1
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 1         It is therefore ORDERED:

 2         (1)     Defendant shall be detained pending trial and committed to the custody of the

 3    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4    from persons awaiting or serving sentences, or being held in custody pending appeal;

 5         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 6    counsel;

 7         (3)     On order of a court of the United States or on request of an attorney for the

 8    Government, the person in charge of the correctional facility in which defendant is confined shall

 9    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

10    with a court proceeding; and

11         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

12    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

13         DATED this 6th day of November, 2008.

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15                                                        A
                                                          BRIAN A. TSUCHIDA
16                                                        United States Magistrate Judge

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     DETENTION ORDER -2
